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                   EXHIBIT A
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6                                      CITY COUNCIL DISTRICT 4
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2020 Districts based on 2020 US Census data
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